             Case 18-60521-can11                  Doc 1      Filed 04/30/18 Entered 04/30/18 14:21:12                               Desc Main
                                                            Document     Page 1 of 30

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MISSOURI

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Family Pharmacy, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  4101 N. State Hwy. NN
                                  Ozark, MO 65721
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Christian                                                      Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.thefamilyrx.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
             Case 18-60521-can11                      Doc 1       Filed 04/30/18 Entered 04/30/18 14:21:12                                     Desc Main
                                                                 Document     Page 2 of 30
Debtor    Family Pharmacy, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4461

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                   Relationship
                                                 District                                  When                              Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
            Case 18-60521-can11                    Doc 1      Filed 04/30/18 Entered 04/30/18 14:21:12                                   Desc Main
                                                             Document     Page 3 of 30
Debtor   Family Pharmacy, Inc.                                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
            Case 18-60521-can11                  Doc 1       Filed 04/30/18 Entered 04/30/18 14:21:12                                  Desc Main
                                                            Document     Page 4 of 30
Debtor    Family Pharmacy, Inc.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 30, 2018
                                                  MM / DD / YYYY


                             X   /s/ Lynn Morris                                                          Lynn Morris
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ John J. Cruciani                                                      Date April 30, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John J. Cruciani 43073
                                 Printed name

                                 Husch Blackwell LLP
                                 Firm name

                                 4801 Main Street
                                 Suite 1000
                                 Kansas City, MO 64112
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     816-983-8197                  Email address      john.cruciani@huschblackwell.com

                                 43073 MO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
             Case 18-60521-can11                  Doc 1    Filed 04/30/18 Entered 04/30/18 14:21:12                        Desc Main
                                                          Document     Page 5 of 30
Debtor     Family Pharmacy, Inc.                                                            Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MISSOURI

Case number (if known)                                                   Chapter      11
                                                                                                                     Check if this an
                                                                                                                     amended filing



                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment

    On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter 11 case,
    filed a voluntary petition for relief under chapter 11 of the title 11 of the United States Bankruptcy Court for
    the Western District of Missouri (the "Court"). A motion will be filed with the Court requesting that the
    chapter 11 cases of the entities listed below be consolidated for procedural purposes only and jointly
    administered pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure. Additional
    information about the relationship between each entity is contained in the Declaration of James G.M.
    MacLaughlin in Support of Debtors' Emergency First Day Motions, which has been filed
    contemporaneously herewith.

Debtor     Family Pharmacy of Missouri, LLC                                        Relationship to you
District   USBC WDMO                                  When     4/30/18             Case number, if known
Debtor     Family Pharmacy of Strafford, Inc.                                      Relationship to you
District   USBC WDMO                                  When     4/30/18             Case number, if known
Debtor     Family Property Management, LLC                                         Relationship to you
District   USBC WDMO                                  When     4/30/18             Case number, if known
Debtor     HealthTAC Logistics, LLC                                                Relationship to you
District   USBC WDMO                                  When     4/30/18             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 5
Case 18-60521-can11   Doc 1    Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document     Page 6 of 30
Case 18-60521-can11   Doc 1    Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document     Page 7 of 30
Case 18-60521-can11   Doc 1    Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document     Page 8 of 30
Case 18-60521-can11   Doc 1    Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document     Page 9 of 30
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 10 of 30
          Case 18-60521-can11                           Doc 1          Filed 04/30/18 Entered 04/30/18 14:21:12            Desc Main
                                                                     Document      Page 11 of 30



                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
 In re      Family Pharmacy, Inc.                                                                          Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Family Pharmacy, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 April 30, 2018                                                        /s/ John J. Cruciani
 Date                                                                  John J. Cruciani 43073
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Family Pharmacy, Inc.
                                                                       Husch Blackwell LLP
                                                                       4801 Main Street
                                                                       Suite 1000
                                                                       Kansas City, MO 64112
                                                                       816-983-8000 Fax:816-983-8080
                                                                       john.cruciani@huschblackwell.com




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          Case 18-60521-can11                           Doc 1          Filed 04/30/18 Entered 04/30/18 14:21:12                               Desc Main
                                                                     Document      Page 12 of 30
                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
 In re      Family Pharmacy, Inc.                                                                                     Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Lynn Morris                                                         Common Stock 100%                                           Corporate Shares
 4230 Greenbriar
 Nixa, MO 65714


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date April 30, 2018                                                         Signature /s/ Lynn Morris
                                                                                            Lynn Morris, President

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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          Case 18-60521-can11                           Doc 1          Filed 04/30/18 Entered 04/30/18 14:21:12                   Desc Main
                                                                     Document      Page 13 of 30




 Fill in this information to identify the case:

 Debtor name         Family Pharmacy, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 30, 2018                          X /s/ Lynn Morris
                                                                       Signature of individual signing on behalf of debtor

                                                                       Lynn Morris
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               Case 18-60521-can11                           Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12                                           Desc Main
                                                                     Document      Page 14 of 30

 Fill in this information to identify the case:
 Debtor name Family Pharmacy, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF MISSOURI                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Computer-Rx                                                     Trade debt                                                                                                 $2,751.64
 P. O. Box 8450
 Oklahoma City, OK
 73153-8450
 EML, Inc.                                                       Trade debt                                                                                                 $4,015.00
 P. O. Box 598
 Cape Girardeau, MO
 63702
 Enterprise Fleet                                                Vehicle Leases                                                                                           $10,280.90
 Management
 P. O. Box 800089
 Kansas City, MO
 64180-0089
 Everbank                                                        Equipment Lease                                                                                            $3,122.80
 Commercial
 Financial
 P. O. Box 911608
 Denver, CO
 80291-1608
 Family Pharmacy                                                 Inter-company                                                                                            $11,036.27
 Healthcare                                                      debt

 Federal Protection                                              Trade debt                                                                                               $30,815.77
 2500 N. Airport
 Commerce Dr.
 Springfield, MO
 65803
 Guaranteed Returns                                              Trade debt                                                                                                 $8,496.66
 100 Colin Drive
 Holbrook, NY 11741
 Hanmi Bank                                                      Equipment Lease                                                                                            $9,538.70
 P. O. Box 3892
 Seattle, WA
 98124-3892




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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               Case 18-60521-can11                           Doc 1       Filed 04/30/18 Entered 04/30/18 14:21:12                                         Desc Main
                                                                       Document      Page 15 of 30


 Debtor    Family Pharmacy, Inc.                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Med Management                                                  Trade debt                                                                                                 $4,326.30
 Technology
 372 S. Eagle Rd.,
 Suite 299
 Eagle, ID 83616
 PBA Health                                                      Trade debt                                                                                                 $2,761.00
 Lockbox Account
 P. O. Box 34015
 Kansas City, MO
 64120
 Pearson Medical                                                 Trade debt                                                                                                 $4,025.03
 Technologies LLC
 2804 North Bolton
 Avenue
 Alexandria, LA
 71303
 Relay Health                                                    Trade debt                                                                                                 $2,965.76
 Attn: A/R Dept.
 450 Lindbergh Drive
 Coraopolis, PA
 15108
 Roswill                                                         Lease/rent                                                                                                 $7,137.00
 1878 S. State Hwy.                                              expense
 125
 Rogersville, MO
 65742
 Rx Systems, Inc.                                                Trade debt                                                                                                 $5,860.93
 121 Point West Blvd.
 Saint Charles, MO
 63301-4409
 SoftWriters, Inc.                                               Trade debt                                                                                                 $2,464.36
 P. O. Box 101466
 Atlanta, GA
 30392-1466
 Springfield's Best,                                             Membership dues                                                                                            $4,140.00
 Inc.
 901 E. St. Louis
 Street
 Springfield, MO
 65806
 Transaction Data                                                Trade debt                                                                                                 $9,027.50
 Systems
 788 Montgomery
 Avenue
 Ocoee, FL 34761
 Tri-Lakes Internet                                              Utility                                                                                                    $5,156.27
 517 S. Second
 Street
 Branson, MO 65616
 Triumph                                                         Trade debt                                                                                                 $4,600.00
 630 Lone Hickory
 Ozark, MO 65721


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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               Case 18-60521-can11                           Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12                                           Desc Main
                                                                     Document      Page 16 of 30


 Debtor    Family Pharmacy, Inc.                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Windmill Health                                                 Trade debt                                                                                                 $3,070.55
 Products
 6 Henderson Drive
 Caldwell, NJ 07006




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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          Case 18-60521-can11                           Doc 1          Filed 04/30/18 Entered 04/30/18 14:21:12      Desc Main
                                                                     Document      Page 17 of 30



                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
 In re      Family Pharmacy, Inc.                                                                    Case No.
                                                                                    Debtor(s)        Chapter    11



                                                       VERIFICATION OF MAILING MATRIX
                        The above-named Debtor(s) hereby verifies that the attached list of creditors is

            true and correct to the best of my knowledge.




 Date:       April 30, 2018                                              /s/ Lynn Morris
                                                                         Lynn Morris/President
                                                                         Signer/Title




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    Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                                  Document      Page 18 of 30


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                          IRS Insolvency Unit
                          PO Box 66778
                          Stop 5334 STL
                          Saint Louis MO 63166


                          US Attorney
                          400 E. 9th Street
                          Room 5510
                          Kansas City MO 64106


                          Ally Bank
                          P. O. Box 9001951
                          Louisville KY 40290-1951

                          American Heritage Carpet, Tile and Hardw
                          1980 W. Union Chapel Road
                          Nixa MO 65714


                          AT&T
                          P. O. Box 5001
                          Carol Stream IL 60197-5001


                          Ava City Utilities
                          P. O. Box 967
                          Ava MO 65608


                          Banc of California, N.A.
                          P. O. Box 24986
                          Seattle WA 98124


                          Bank of Missouri
                          3807 South Campbell
                          Springfield MO 65807-5339


                          Bank of Missouri
                          Branch 4
                          1301 W. South Street
                          Ozark MO 65721-7483


                          Bank of Missouri, Branch 4
                          1301 W. South Street
                          Ozark MO 65721-7483
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 19 of 30



                      BarCharts Publishing, Inc.
                      6000 Park of Commerce Blvd., Suite D
                      Boca Raton FL 33487


                      Barney's Quick Lube
                      1020 E. 32nd
                      Joplin MO 64804


                      C. Arch Bay Co.
                      Commercial & Residential Property
                      453 S. Patton
                      Springfield MO 65806


                      Cardinal Health
                      7000 Cardinal Place
                      Dublin OH 43017


                      Cardinal Health 110, LLC
                      7000 Cardinal Place
                      Dublin OH 43017


                      Cardinal Health 112, LLC
                      7000 Cardinal Place
                      Dublin OH 43017


                      Central Bank
                      P. O. Box 8500
                      Jefferson City MO 65102


                      CenturyLink
                      P. O. Box 3400
                      Carol Stream IL 60197-4300


                      Change Healthcare Solutions
                      P. O. Box 572940
                      UT 84257-2490


                      Chesapeake Valley Water Co.
                      P. O. Box 10841
                      Springfield MO 65808


                      City of Joplin
                      602 S. Main Street
                      Joplin MO 64801
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 20 of 30



                      City of Ozark
                      205 N. 1st Street
                      Ozark MO 65721


                      City of Republic
                      213 N. Main
                      Republic MO 65738-1472


                      City of Sparta
                      P. O. Box 246
                      Sparta MO 65753


                      City of Willard
                      P. O. Box 187
                      Willard MO 65781


                      City Utilities of Springfield
                      P. O. Box 551
                      Springfield MO 65801-0551


                      Computer Rx
                      P. O. Box 8450
                      Oklahoma City OK 73153-8450


                      Computer-Rx
                      P. O. Box 8450
                      Oklahoma City OK 73153-8450


                      Concordance - MMS
                      2675 Solution Center
                      Chicago IL 60677-2006


                      Cox Health Systems Insurance Company
                      3200 South National, Building B
                      Springfield MO 65807


                      Culligan of Joplin
                      P. O. Box 2932
                      Wichita KS 67201-2932


                      EML, Inc.
                      P. O. Box 598
                      Cape Girardeau MO 63702
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 21 of 30



                      Empire District Electric
                      P. O. Box 219239
                      Kansas City MO 64121-9239


                      Enterprise Fleet Management
                      P. O. Box 800089
                      Kansas City MO 64180-0089


                      Everbank Commercial Finance, Inc.
                      10 Waterview Blvd., 2nd Floor
                      Parsippany NJ 07054


                      Everbank Commercial Financial
                      P. O. Box 911608
                      Denver CO 80291-1608


                      Everbank Commercial Financial
                      c/o Group Financial Services
                      261 Fifth Avenue, Suite 915
                      New York NY 10016


                      Family Pharmacy Healthcare



                      Federal Protection
                      2500 N. Airport Commerce Dr.
                      Springfield MO 65803


                      FedEx
                      P. O. Box 94515
                      Palatine IL 60094-4515


                      FFF Enterprises, Inc.
                      P. O. Box 840150
                      Los Angeles CA 90084-0150


                      First Bankshares, Inc.
                      142 E. First Street
                      Mountain Grove MO 65711


                      Ford Credit
                      P. O. Box 650575
                      Dallas TX 75265-0575
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 22 of 30



                      Giftcraft, Inc.
                      P. O. Box 1270
                      Grand Island NY 14072-8270


                      GlaxoSmithKline
                      5 Crescent Drive
                      Mailstop NY0200
                      Philadelphia PA 19112


                      Go Automotive
                      1700 S. 16th Avenue
                      Ozark MO 65721


                      Gold Metal Gym



                      Granite Telecommunications
                      Client ID #311
                      P. O. Box 983119
                      Boston MA 02298-3119


                      Group Financial Services
                      P. O. Box 790448
                      Saint Louis MO 63179-0448


                      Guaranteed Returns
                      100 Colin Drive
                      Holbrook NY 11741


                      Hanmi Bank
                      P. O. Box 3892
                      Seattle WA 98124-3892


                      Healthcare Logistics
                      P. O. Box 400
                      Circleville OH 43113-0400


                      Henrys Towing Services LLC
                      2806 S. Farm Road 115
                      Brookline MO 65619


                      Jim Blount's Service Center
                      P. O. Box 349
                      Rogersville MO 65742
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 23 of 30



                      Johnstone Supply #19
                      501 N. Belcrest
                      Springfield MO 65802


                      Keepper Investments
                      P. O. Box 113
                      Republic MO 65738-0113


                      Kenco Fire Equipment
                      1810 East St. Louis Street
                      Springfield MO 65802


                      KTXR-FM
                      3000 E. Chestnut Expressway
                      Springfield MO 65802


                      KWTO-AM
                      3000 E. Chestnut Expwy.
                      Springfield MO 65802


                      Lakewood Center LLC
                      c/o Sperry Van Ness / Rankin Company LLC
                      2808 S. Ingram Mill, A100
                      Springfield MO 65804


                      Lakewood Center, LLC
                      c/o Rankin Co.
                      2808 S. Ingram Mill Suite A-100
                      Springfield MO 65804


                      Langston, Michael N and Carolyn J.
                      7280 E. Farm Road 84
                      P. O. Box 5
                      Strafford MO 65757


                      Latika Body Essentials
                      8906 Wall Street, Suite 101
                      Austin TX 78754


                      Layer3 Technology, Inc.
                      2020 W. Vista, Suite 108
                      Springfield MO 65807
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 24 of 30



                      Leanin' Tree, LLC
                      P. O. Box 9500
                      Boulder CO 80301


                      Lease Corporation of America
                      3150 Livernois, Suite 300
                      Troy MI 48083


                      Least of These Inc.
                      P. O. Box 808
                      Nixa MO 65714


                      Letco Medical
                      1821 Reliable Parkway
                      Chicago IL 60686


                      Liberty Mutual Insurance
                      P. O. Box 8500
                      Dover NH 03821-8500


                      Loyd's Electric Supply
                      209 S. Ingram Mill Rd.
                      Springfield MO 65802


                      Mason Vitamins, Inc.
                      15750 NW 59 Avenue
                      Hialeah FL 33014


                      MCR Rentals, LLC
                      P. O. Box 288
                      Ava MO 65704


                      Med Management Technology
                      372 S. Eagle Rd., Suite 299
                      Eagle ID 83616


                      Mediacom
                      P. O. Box 5744
                      Carol Stream IL 60197-5744


                      Medical Specialties Distributors LLC
                      P. O. Box 206639
                      Dallas TX 75320-6639
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 25 of 30



                      MedImpact Healthcare Systems
                      P. O. Box 511334
                      Los Angeles CA 90051-7889


                      Medisca Inc.
                      P. O. Box 2592
                      Plattsburgh NY 12901


                      Michael and Carolyn Langston
                      7280 E. Farm Road 84
                      Strafford MO 65757


                      Mid-West Family Broadcasting
                      2453 E. Elm Street
                      Springfield MO 65802


                      Missouri Dept. of Agriculture
                      P. O. Box 630
                      Jefferson City MO 65102


                      Missouri Neon Company
                      3160 W. Kearney
                      Springfield MO 65803


                      Missouri Pharmacy Association
                      211 East Capital Avenue
                      Nixa MO 65714-8131


                      Nissan Motor Acceptance Corporation
                      P. O. Box 742658
                      Cincinnati OH 45274-2658


                      Nissan Motor Acceptance Corporation
                      P. O. Box 724658
                      Cincinnati OH 45274-2658


                      Ozark Tire & Auto Center
                      1204 S. 3rd Street
                      Ozark MO 65721


                      Ozark Water Systems
                      P. O. Box 295
                      Ozark MO 65721
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 26 of 30



                      Ozarks Coco-Cola/Dr. Pepper
                      P. O. Box 11250
                      Springfield MO 65808


                      Paycor
                      4811 Montgomery Road
                      Cincinnati OH 45212


                      PBA Health
                      Lockbox Account
                      P. O. Box 34015
                      Kansas City MO 64120


                      PC Solutions
                      410 E. South Street
                      Ozark MO 65721


                      Pearson Medical Technologies LLC
                      2804 North Bolton Avenue
                      Alexandria LA 71303


                      Pharmacy Providers of Oklahoma
                      P. O. Box 16430
                      Oklahoma City OK 73113


                      Phillips Media Group
                      P. O. Box 330
                      Bolivar MO 65613


                      Pioneer Valley
                      103 North 1330 West
                      Ozark MO 65721


                      Piping Rock Health Products
                      3900 Veterans Memorial Highway
                      Bohemia NY 11716


                      Pitney Bowes Global Financial
                      P. O. Box 856460
                      Louisville KY 40285-6460


                      Pitney Bowes Purchase Power
                      P. O. Box 371874
                      Pittsburgh PA 15250-7874
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 27 of 30



                      PJC Insurance Agency
                      P. O. Box 9750
                      Springfield MO 65801


                      Protective Life Insurance Co.
                      P. O. Box 2224
                      Birmingham AL 35246-0030


                      PV, LLC d/b/a Prairie View Shopping Ctr.
                      1420 S. Enterprise Ave., Suite J
                      Springfield MO 65804


                      Relay Health
                      Attn: A/R Dept.
                      450 Lindbergh Drive
                      Coraopolis PA 15108


                      Republic Glass
                      665 E. Harrison
                      Republic MO 65738-1263


                      Republic Services
                      P. O. Box 9001099
                      Louisville KY 40290-1099


                      Rick's Automotive
                      2121 S. Campbell
                      Springfield MO 65807


                      Roswill
                      1878 S. State Hwy. 125
                      Rogersville MO 65742


                      John Rulon
                      204 Breckenridge Road
                      Branson MO 65616


                      Rx Systems, Inc.
                      121 Point West Blvd.
                      Saint Charles MO 63301-4409


                      RxCare Assurance
                      P. O. Box 30203
                      Omaha NE 68103-1303
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 28 of 30



                      Sam's Club
                      P. O. Box 530981
                      Atlanta GA 30353-0981


                      Shred-It Springfield
                      P. O. Box 101007
                      Pasadena CA 91189-1007


                      Smith Drug Company, a Division of
                      J M Smith Corporation
                      Attn: Office of Corporate Counsel
                      101 W. St. John Street, Suite 305
                      Spartanburg SC 29306

                      SoftWriters, Inc.
                      P. O. Box 101466
                      Atlanta GA 30392-1466


                      Soren Signs, LLC
                      20 Hillside Drive
                      Nixa MO 65714


                      Spectrum
                      P. O. Box 740894
                      Los Angeles CA 90074-0894


                      Spenser Capital Group, Inc.
                      c/o Group Financial Services
                      P. O. Box 7966
                      Hilton Head Island SC 29938


                      Spire
                      Drawer 2
                      Saint Louis MO 63171-0002


                      Springfield's Best, Inc.
                      901 E. St. Louis Street
                      Springfield MO 65806


                      Standard Insurance Company
                      P. O. Box 82588
                      Lincoln NE 68501-2588
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 29 of 30



                      Stericycle, Inc.
                      P. O. Box 6575
                      Carol Stream IL 60197-6575


                      SuddenLink
                      P. O. Box 660365
                      Dallas TX 75266-0365


                      Summer Fresh Supermarkets, Inc.
                      of Marshfield
                      759 W. Washington
                      Marshfield MO 65706


                      Summit Natural Gas
                      P. O. Box 270868
                      Littleton CO 80127


                      Swan Creek Candle Co.
                      P. O. Box 239
                      Swanton OH 43558


                      TCF Equipment Finance
                      1111 West San Marnan Dr., Suite A2 West
                      Waterloo IA 50701-8926


                      Touchtone Communications
                      P. O. Box 27772
                      Newark NJ 07101-7772


                      Transaction Data Systems
                      788 Montgomery Avenue
                      Ocoee FL 34761


                      Tri-Lakes Internet
                      517 S. Second Street
                      Branson MO 65616


                      Triumph
                      630 Lone Hickory
                      Ozark MO 65721


                      U.S. Bank Equipment Finance
                      1310 Madrid Street
                      Marshall MN 56258
Case 18-60521-can11   Doc 1     Filed 04/30/18 Entered 04/30/18 14:21:12   Desc Main
                              Document      Page 30 of 30



                      Ulink, LLC
                      P. O. Box 499
                      Sparta MO 65753


                      UPS
                      Lock Box 577
                      Carol Stream IL 60132-0577


                      Verizon Wireless
                      P. O. Box 25505
                      Lehigh Valley PA 18002-5505


                      VorroHealth
                      P. O. Box 1185
                      Farmington UT 84025


                      WCA Waste Corporation
                      P. O. Box 553166
                      Detroit MI 48255-3166


                      Windmill Health Products
                      6 Henderson Drive
                      Caldwell NJ 07006
